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                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                  FORT LAUDERDALE DIVISION

                                                      CASE NO. 21-CV-60023-AHS

  VANGUARD PLASTIC SURGERY, PLLC d/b/a
  VANGUARD AESTHETIC AND PLASTIC
  SURGERY,


                               Plaintiff,

  vs.


  UNITEDHEALTH GROUP INCORPORATED, a
  foreign corporation, and UNITED
  HEALTHCARE SERVICES, INC., a foreign
  corporation,

                              Defendants.
  _______________________________________/
                           PLAINTIFF’S MOTION TO OVERRULE DEFENDANT UNITED HEALTHCARE
                            SERVICES, INC.’S OBJECTIONS, AND TO COMPEL BETTER ANSWERS, TO
                                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
                             Pursuant to Federal Rule of Civil Procedure 37(a)(3)(B) and Local Rule 26.1(g), Plaintiff

  Vanguard Plastic Surgery, PLLC (“Plaintiff”) moves for an Order overruling Defendant United

  Healthcare Services, Inc.’s (“UHS”) objections to Plaintiff’s First Set of Interrogatories

  (“Interrogatories”) and compelling UHS to provide better answers to the Interrogatories upon entry

  of an appropriate confidentiality order and HIPAA-Qualified Protective Order (“HIPAA-QPO”).

  In support, Plaintiff states as follows:

                                                    I.          RELEVANT BACKGROUND

                             Plaintiff has sued Defendants UHS and UnitedHealth Group Incorporated (“UHG”)

  seeking appropriate compensation for medical services it provided to a patient (“Patient”) who was

  a member of one of Defendants’ health insurance plans. More specifically, between March 2018
  [9000.002/ 5326041/ 3]




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  and August 2019, Plaintiff—an out-of-network provider with Defendants—performed five

  different surgeries on Patient relating to Patient’s diagnosis with Lynch Syndrome and associated

  increased risk of breast cancer. Compl. [DE 1-3] ¶¶ 25, 38–51. Three of the surgeries were

  preauthorized and the other two were performed on an emergency basis. See id. Plaintiff’s billed

  charges for the five surgeries totaled $442,193.00, yet Defendants paid Plaintiff $21,971.66 for

  these services—a mere 6.3% of Plaintiff’s charges. See id. ¶¶ 54–58. Plaintiff brings four

  alternative state law claims seeking appropriate payment from Defendants for the services it

  provided to Patient: breach of implied-in-fact contracts based on a shared savings network

  agreement and/or the reasonable value of the services (Counts I and II); unjust enrichment/breach

  of implied-in-law contract (Count III); and promissory estoppel (Count IV). See id. ¶¶ 79–133.

                           On June 9, 2021, Plaintiff served the Interrogatories, seeking basic information relevant to

  the underlying medical services and the issues in dispute. A copy of the Interrogatories is attached

  as Exhibit A. After agreed-to extensions, on August 16, 2021, Defendant served its written

  Responses and Objections to the Interrogatories (“Answers”).1 A copy of the Answers is attached

  as Exhibit B.

                           The parties are currently negotiating an appropriate confidentiality order and HIPAA-QPO

  prior to exchanging any confidential or proprietary information or any protected health

  information. However, numerous discovery deficiencies are apparent based solely on UHS’s

  written answers and objections. Specifically, in its Answers, UHS improperly attempts to limit

  discovery to the administrative record; asserts objections followed by an answer; objects to

  straightforward requests and defined terms, the meaning of which are clear, as vague and




          1.       On September 15, 2021, UHS provided its written agreement to extend the deadline
  for Plaintiff to bring this Motion.
  [9000.002/ 5326041/ 3]




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  ambiguous; and otherwise objects to providing relevant and discoverable information. Because

  UHS’s answers are deficient and its objections unfounded, its objections should be overruled, and

  it should be compelled to provide amended answers to the Interrogatories upon entry of an

  appropriate HIPAA-QPO and confidentiality order.

                                                             II.       ARGUMENT
                           A. UHS’s Objection to Discovery Outside the Administrative Record Should Be
                              Overruled.
                              UHS improperly attempts to limit discovery in this matter to the administrative record

  based on Defendants’ previous contention—more fully set forth in Defendants’ Motion to Dismiss

  [see DE 9]—that Plaintiff’s state law claims are preempted by the Employee Retirement Income

  Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq. (“ERISA”). However, on September

  21, 2021, after UHS served its Answers, the Court entered an Order on Defendants’ Motion to

  Dismiss, in which the Court denied Defendants’ Motion as to all counts of Plaintiff’s Complaint

  except Count V (which Plaintiff had agreed to voluntarily withdraw) [DE 23]. Accordingly, this

  matter does not concern a claim pursuant to ERISA, and the scope of discovery is governed by

  Federal Rule of Civil Procedure 26(b).2 See United Surgical Assistants, LLC v. Aetna Life Ins. Co.,

  8:14-CV-211-T-30JSS, 2015 WL 13750191, at *3 (M.D. Fla. Oct. 19, 2015) (discovery relating

  to a plaintiff’s “non-ERISA causes of action is governed by the broad scope of Rule 26”). Plaintiff

  therefore should be permitted to seek discovery of any relevant matter that is proportional to the

  needs of this case. See Fed. R. Civ. P. 26(b)(1). Given this, UHS’s attempts to limit discovery to




         2.     It bears noting that, even if this case concerned a claim pursuant to ERISA,
  discovery would not be limited to the administrative record. See Johnston v. Aetna Life Ins. Co.,
  282 F. Supp. 3d 1303, 1314 (S.D. Fla. 2017) (permitting certain discovery in an ERISA action
  “even though it might not actually be in the technical administrative record”).
  [9000.002/ 5326041/ 3]




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  the “administrative record” should be rejected, and all of its objections on that basis should be

  overruled.

                           B. UHS’s Objections to Specific Requests for Admission Should Be Overruled.
                              Pursuant to Local Rule 26.1(g)(2), Plaintiff sets forth below the discovery from the

  Interrogatories to which UHS has objected.

                              Interrogatory No. 3: Have you heard or do you know about any statement or
                              remark made by or on behalf of any party to this lawsuit, other than Yourself,
                              concerning any issue in this lawsuit? If so, state the name and address of each
                              person who made the statement or statements, the name and address of each person
                              who heard it, and the date, time, place, and substance of each statement.
                              Defendant’s Answer: UHS objects to this Interrogatory to the extent that the
                              information sought is equally accessible to Plaintiff and/or already in Plaintiff’s
                              possession, custody, or control. UHS also objects to the extent that this
                              Interrogatory seeks information for the purpose of contacting employees of UHS,
                              as such contacts would be improper, unduly burdensome, and in contravention of
                              legal and ethical restrictions on the contact or attempted contact by counsel with a
                              represented party, employee, and/or agent. Moreover, UHS objects to this
                              Interrogatory as it seeks employee contact information which is confidential,
                              irrelevant, and unlikely to lead to the discovery of admissible evidence.
                              Additionally, this Interrogatory seeks documents or information that is not
                              discoverable under ERISA. Furthermore, this Interrogatory seeks information that
                              is irrelevant to the benefit claims at issue in this matter. Statements between
                              employees of UHS, as the claim administrator, and the Plaintiff’s employees or
                              representatives may take place on a regular basis in the submission or
                              administration of benefit claims for services that the Plaintiff provides to
                              individuals covered by policies or plans administered by Defendants or their
                              affiliates. Those statements or discussions are specific to the benefit claims that are
                              being administered. It is therefore impossible to respond to this Interrogatory as
                              framed.
                              Notwithstanding these objections, UHS states that it intends to produce the
                              administrative record related to the benefit claims at issue, which include any
                              Provider Remittance Advice (“PRA”). The PRA is a communication directly to the
                              Plaintiff regarding the administration of the benefit claims, the amounts allowable,
                              the amount of the patient responsibility and the amount that has been authorized to
                              be paid by the claim administrator. Therefore, the answer to this Interrogatory (with
                              respect to the specific benefit claims at issue) may be derived or ascertained from
                              an examination of the claims documents that UHS intends to produce.
                              Reason(s) Supporting Motion: This Interrogatory is straightforward. It asks UHS to

  identify individuals who have made statements concerning any of the issues in this lawsuit. As an
  [9000.002/ 5326041/ 3]




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  initial matter, UHS’s answer “[n]otwithstanding [its] objections” is improper. “Although the

  practice of objection to a discovery request then providing a substantive response notwithstanding

  the objection has become commonplace, courts in the Eleventh Circuit have found that ‘whenever

  an answer accompanies an objection, the objection is deemed waived and the answer, if responsive,

  stands.’” Cervenec v. Borden Dairy Co. of Florida, LLC, 14-62876-CIV, 2015 WL 13567434, at

  *2 (S.D. Fla. Oct. 16, 2015) (citations omitted). Such a practice “‘preserve[s] nothing and serve[s]

  only to waste the time and resources of both the Parties and the Court. Further, [it] leaves the

  requesting Party uncertain as to whether the question has actually been fully answered or whether

  only a portion of the question has been answered.’” Id. (citations omitted); see also Waite v. All

  Acquisition Corp., Case No. 15-CV-62359, 2016 WL 4433719 at, *2 (S.D. Fla. May 3, 2016)

  (overruling objections because “the Court finds it improper for [the responding party] to object

  and then provide a response subject to their objections.”). UHS’s objections to this Interrogatory

  should be overruled on this basis alone.

                           Furthermore, UHS’s objections to this Interrogatory are unfounded. Plaintiff is permitted

  to discovery identifying individuals—including UHS’s employees—who have made statements

  concerning the issues in dispute. Parties are not permitted to wholesale object to identifying any

  of their employees in discovery; no legal authority supports UHS’s contention in this regard.

  UHS’s ERISA objection and its attempt to limit discovery concerning Plaintiff’s non-ERISA

  claims to the administrative record is improper for the reasons set forth in section II.A. above.

  UHS’s objection that this Interrogatory seeks irrelevant information is belied by its admission that

  such statements take place regularly and are specific to the benefit claims being administered.

  Accordingly, UHS’s objections should be overruled, and it should be compelled to provide an

  amended Answer to Interrogatory No. 3.

  [9000.002/ 5326041/ 3]




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                           Interrogatory No. 4: Identify each and every non-privileged document reflecting
                           Your internal communications (including all letters, notes from verbal
                           conversations, e-mails, and other electronic documents) concerning the Medical
                           Claims at issue in this Lawsuit and/or any allegations set forth in Plaintiff’s
                           Complaint.
                           Defendant’s Answer: UHS objects to this Interrogatory on the grounds that it is
                           vague and ambiguous as to what is meant by “concerning the Medical Claims at
                           issue in this Lawsuit and/or any allegations set forth in Plaintiff’s Complaint.” UHS
                           also objects to this Interrogatory as seeking information that is not discoverable
                           under ERISA.
                           To the extent that this Interrogatory seeks information with regard to the
                           administrative record, UHS states that it intends to produce same. UHS thus refers
                           Vanguard to documents and communications contained therein since “the burden
                           of deriving and ascertaining the answer will be substantially the same” for
                           Vanguard and UHS. See Fed. R. Civ. P. 33(d).
  Reason(s) Supporting Motion: Again, this Interrogatory is straightforward. UHS’s objection that

  the phrases “Medical Claims at issue in this Lawsuit” and “allegations set forth in Plaintiff’s

  Complaint” is vague and ambiguous is meritless. Not only is it clear what these terms mean based

  on the Interrogatory itself, but they are also defined in the definitions section preceding the

  Interrogatories. See Ex. A at 2–3. UHS’s ERISA objection is unfounded for the reasons set forth

  in section II.A above.

                           UHS also improperly attempts to limit this Interrogatory to only those internal

  communications that may be contained within the administrative record (however UHS defines

  it). Yet, Interrogatory No. 4 asks UHS to identify all of its internal communications concerning

  the medical claims at issue and the allegations of Plaintiff’s Complaint, regardless of whether those

  communications are actually contained within the administrative record. Plaintiff, of course, has

  no objection to UHS producing documents in lieu of answering this Interrogatory, as contemplated

  by Federal Rule of Civil Procedure 33(d), but those documents should include all of UHS’s internal

  communications responsive to this Interrogatory, not just those that may be contained within the

  administrative record. Accordingly, UHS’s objections to Interrogatory No. 4 should be overruled,

  [9000.002/ 5326041/ 3]




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  and it should be compelled to either provide an amended answer or to produce all of its internal

  communications concerning the medical claims at issue and the allegations of Plaintiff’s

  Complaint pursuant to Rule 33(d).

                           Interrogatory No. 6: Identify the contractually agreed-to rates of payment for
                           medical services similar to the Medical Services (i.e., similar CPT Codes) in the
                           same geographic area as those at issue in Plaintiff’s Complaint under all contracts
                           between You and any medical provider in effect at any time from January 1, 2017
                           through December 31, 2019.
                           Defendant’s Answer: UHS objects to this Interrogatory on the grounds that it is
                           overbroad and unduly burdensome. In addition, it is vague and ambiguous as to
                           what is meant by “medical services similar to the Medical Services,” “similar CPT
                           Codes,” and “the same geographic area.” UHS also objects to this Interrogatory as
                           seeking information that is not discoverable under ERISA. UHS further objects that
                           this Interrogatory lacks relevance, as this Interrogatory seeks information
                           exceeding the scope of the issues framed by Plaintiff’s Complaint. UHS also objects
                           to the extent this Interrogatory seeks any confidential and/or proprietary
                           information.
  Reason(s) Supporting Motion: This is a straightforward Interrogatory that is routine for these

  types of cases—i.e., cases in which out-of-network providers bring claims against health insurance

  companies for underpayment of services provided to members of the insurers’ plan. This

  Interrogatory is properly tailored to seek data reflecting UHS’s negotiated rates of payment for the

  services at issue with other providers in the same geographic area as Plaintiff, and in effect during

  the relevant time period. These negotiated rates are the product of an arm’s-length transaction and

  thus are highly probative of the fair market value of the medical services at issue—which is the

  central issue of this case. See Baker County Med. Services, Inc. v. Aetna Health Mgmt., LLC, 31

  So. 3d 842, 845 (Fla. 1st DCA 2010) (“Fair market value is the price that a willing buyer will pay

  and a willing seller will accept in an arm’s-length transaction.”). The fair market value of the

  services at issue is the proper measure of Plaintiff’s damages for the claims alleged, and thus

  UHS’s objection that this Request “exceed[s] the scope of the issues framed by Plaintiff’s

  Complaint” is incorrect. See, e.g., Merle Wood & Associates, Inc. v. Frazer, 307 So. 3d 773, 776
  [9000.002/ 5326041/ 3]




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  (Fla. 4th DCA 2020) (damages for unjust enrichment may be based on the market value of the

  services).

                           UHS’s objections concerning confidentiality and proprietary information are adequately

  addressed by entry of an appropriate confidentiality order. UHS could simply de-identify any

  responsive data or information concerning these rates—which is the regular practice in this sort of

  litigation. The mere fact that requested information may be confidential or proprietary does not

  protect it from disclosure. Rather, where the information is relevant to the reasonableness of

  charges for medical services, an appropriate confidentiality order is sufficient to protect the

  interests of the objecting party. See Columbia Hosp. (Palm Beaches) Ltd. P’ship v. Hasson, 33 So.

  3d 148, 151 (Fla. 4th DCA 2010). Further, the inclusion of an attorneys’ eyes-only provision in an

  appropriate confidentiality order will more than adequately protect UHS’s interests in this regard.

                           UHS’s other objections should also be overruled. Its objection to “medical services similar

  to the Medical Services (i.e., similar CPT Codes) in the same geographic area as those at issue” as

  vague and ambiguous is unfounded. Several of these terms are defined (see Ex. A at 2–3) or

  otherwise have plain meanings. Further, this phrase parallels the one found in Florida’s statute

  requiring payment for services at usual and customary rates—which, again, is synonymous with

  the fair market or reasonable value of services. Cf. § 641.513, Fla. Stat. (requiring reimbursement

  at “[t]he usual and customary provider charges for similar services in the community where the

  services were provided.”); Baker County Med. Services, Inc., 31 So. 3d at 845 (“In the context of

  [this statutory provision], it is clear what is called for is the fair market value of the services

  provided.”). UHS’s ERISA objections are improper for the reasons set forth in section II.A above.

  And, finally, UHS’s contention that this Interrogatory is overbroad and unduly burdensome is

  unsupported, which warrants overruling these objections. See Sallah v. Worldwide Clearing LLC,

  [9000.002/ 5326041/ 3]




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  855 F. Supp. 2d 1364, 1376 (S.D. Fla. 2012) (“Objections that state that a discovery request is

  ‘vague, overly broad, or unduly burdensome’ are, standing alone, meaningless and do not comply

  with both the Local Rules and Rule 34’s requirement that objections contain a statement of

  reasons.”).

                           Based on the foregoing, UHS’s objections to Interrogatory No. 6 should be overruled, and

  it should be compelled to answer this Interrogatory subject to entry of an appropriate

  confidentiality order.

                           Interrogatory No. 7: Identify the amounts billed to You and the amounts You
                           remitted as payment to any medical provider who provided medical services similar
                           to the Medical Services (i.e., similar CPT Codes) in the same geographic area as
                           those at issue in Plaintiff’s Complaint from January 1, 2017 through December 31,
                           2019.
                           Defendant’s Answer: UHS objects to this Interrogatory on the grounds that it is
                           overbroad and unduly burdensome. In addition, it is vague and ambiguous as to
                           what is meant by “medical services similar to the Medical Services,” “similar CPT
                           Codes,” and “the same geographic area.” UHS also objects to this Interrogatory as
                           seeking information that is not discoverable under ERISA. UHS further objects that
                           this Interrogatory lacks relevance, as this Interrogatory seeks information
                           exceeding the scope of the issues framed by Plaintiff’s Complaint. UHS also objects
                           to the extent this Interrogatory seeks any confidential and/or proprietary
                           information.
  Reason(s) Supporting Motion: Like Interrogatory No. 6, this Interrogatory is routine for these

  types of cases. It is properly tailored to seek information directly relevant to the usual and

  customary rates of payment for (i.e., the fair market value of) the medical services Plaintiff

  provided to Patient—which, again, is the central issue of this case. Florida law provides that this

  inquiry requires consideration of the amounts billed and the amounts accepted by providers as

  payment from non-governmental payers like UHS. See Baker County Med. Services, Inc., 31 So.

  3d at 845 (“In determining the fair market value of the services, it is appropriate to consider the

  amounts billed and the amounts accepted by providers.”); cf. Giacalone v. Helen Ellis Mem’l Hosp.

  Found., Inc., 8 So. 3d 1232, 1235–36 (Fla. 2d DCA 2009) (reasonableness of healthcare charges
  [9000.002/ 5326041/ 3]




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   includes consideration of usual and customary rates for services at issue). As set forth above, the

   fair market value of the services at issue is the proper measure of Plaintiff’s damages for the claims

   alleged, and thus UHS’s objection that this Request “exceed[s] the scope of the issues framed by

   Plaintiff’s Complaint” is incorrect. See Merle Wood & Associates, Inc., 307 So. 3d at 776 (damages

   for unjust enrichment may be based on the market value of the services).

                            UHS’s objections concerning confidentiality and proprietary information are adequately

   addressed by entry of an appropriate confidentiality order containing an attorneys’ eyes-only

   provision, as more fully set forth in response to Interrogatory No. 6.

                            Similarly, UHS’s other objections also should be overruled for the reasons set forth in

   response to Interrogatory No. 6, including its ERISA objection, as well as its vague and ambiguous

   objections to terms that are defined, otherwise have plain meanings, and approximate statutory

   language concerning usual and customary charges for medical services. Further, UHS’s contention

   that this Interrogatory is overbroad and unduly burdensome is again unsupported, which warrants

   overruling these objections. See Sallah, 855 F. Supp. 2d at 1376.

                            Based on the foregoing, UHS’s objections Interrogatory No. 7 should be overruled, and it

   should be compelled to answer this Interrogatory subject to entry of an appropriate confidentiality

   order.

                            Interrogatory No. 8: Describe in detail the process You used to calculate the
                            reimbursement rates for medical services similar to the Medical Services at issue
                            (i.e., similar CPT Codes), provided by Out-of-Network Providers in the community
                            where the Medical Services were provided, from January 1, 2017 through
                            December 31, 2019.
                            Defendant’s Answer: UHS objects to this Interrogatory on the grounds that it is
                            overbroad and unduly burdensome. In addition, it is vague and ambiguous as to
                            what is meant by “medical services similar to the Medical Services at issue,”
                            “similar CPT Codes,” and “the community where the Medical Services were
                            provided.” UHS also objects to this Interrogatory as seeking information that is not
                            discoverable under ERISA. UHS further objects that this Interrogatory lacks
                            relevance, as this Interrogatory seeks information exceeding the scope of the issues
   [9000.002/ 5326041/ 3]




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                            framed by Plaintiff’s Complaint. UHS also objects to the extent this Interrogatory
                            seeks any confidential and/or proprietary information.
   Reason(s) Supporting Motion: UHS’s objections to Interrogatory No. 8 should be overruled for

   many of the reasons set forth in response to Interrogatories No. 6 and No. 7 above. Its overbroad

   and unduly burdensome objections are once again unsupported, which warrants overruling them.

   See Sallah, 855 F. Supp. 2d at 1376. The phrases to which UHS objects as being vague and

   ambiguous—“medical services similar to the Medical Services at issue (i.e., similar CPT Codes)”

   and “in the community where the Medical Services were provided”—once again are based on

   terms that are defined (see Ex. A at 2–3) or have plain meanings, and these phrases parallel the

   language of Florida’s statute requiring payment at usual and customary rates. See § 641.513, Fla.

   Stat. (requiring reimbursement at “[t]he usual and customary provider charges for similar services

   in the community where the services were provided.”); Baker County Med. Services, Inc., 31 So.

   3d at 845. UHS’s ERISA objection is unfounded for the reasons set forth in section II.A above. Its

   objections concerning confidentiality and proprietary information are again adequately addressed

   by entry of an appropriate confidentiality order containing an attorneys’ eyes-only provision, as

   more fully set forth in response to Interrogatory No. 6.

                            Finally, this Interrogatory is a straightforward request for information relevant to the issues

   in dispute—namely, how it is that UHS calculates reimbursement rates for medical services

   rendered by out-of-network providers like Plaintiff. UHS’s objection that this Request “exceed[s]

   the scope of the issues framed by Plaintiff’s Complaint” is therefore unfounded. Accordingly,

   UHS’s objections Interrogatory No. 8 should be overruled, and it should be compelled to answer

   this Interrogatory subject to entry of an appropriate confidentiality order.

                            Interrogatory No. 10: Identify all individuals and/or entities with any role or
                            involvement in determining the reimbursement rates paid to Plaintiff for the
                            Medical Services at issue and describe each individual’s and/or entity’s role in
                            making those reimbursement rate determinations.
   [9000.002/ 5326041/ 3]




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                            Defendant’s Answer: UHS objects to this Interrogatory on the grounds that it is
                            vague and ambiguous as to what is meant by “all individuals and/or entities with
                            any role or involvement in determining the reimbursement rates.” UHS also objects
                            to this Interrogatory as seeking information that is not discoverable under ERISA.
                            To the extent the Interrogatory requests identification of the plan sponsor and the
                            claims administrator, UHG is the plan sponsor and UHS is the claims administrator.
                            UHS further states as shown in the Provider Remittance Advices contained with
                            the administrative record, UHS complied with and followed the terms of the plan
                            documents and administrative service agreement (“ASA”) with regard to the
                            administration of the benefit claims at issue, which included accessing the Data
                            ISight re-pricing service with regard to the appropriate payment amount for certain
                            of the benefit claims at issue and/or accessing directly or indirectly third party
                            agreements through which Plaintiff agreed to accept a discounted amount.
   Reason(s) Supporting Motion: This Interrogatory asks UHS to identify individuals or entities

   involved in determining the rates paid to Plaintiff for the medical services in dispute—a reasonably

   tailored request for relevant information. UHS improperly objects to a phrase that has plain

   meaning in the context of the Interrogatory, and its ERISA objections are once again improper for

   the reasons set forth in section II.A. above. UHS also improperly attempts to reframe this

   Interrogatory as one asking it to identify the plan sponsor and the claims administrator—which is

   not what the plain language of Interrogatory No. 10 seeks. Accordingly, its objections should be

   overruled, and it should be compelled to provide an amended answer to Interrogatory No. 10 as

   originally phrased by Plaintiff in the Interrogatories.

                            Interrogatory No. 11: Identify all documents, databases, schedules, analyses,
                            reports, contracts, summaries, and any other resource that You used or upon which
                            You relied in determining:
                                   a. the reimbursement rates paid to Plaintiff for the Medical Services at
                                      issue; and
                                   b. the “usual and customary charges,” as defined in Baker County Medical
                                      Services, Inc. v. Aetna Health Management, LLC, 31 So. 2d 842, 845-
                                      46 (Fla. 1st DCA 2010), for medical services similar to the Medical
                                      Services at issue in the community where the Medical Services were
                                      provided, from January 1, 2017 through December 31, 2019.
                            Defendant’s Answer: With regard to subsection (a), UHS objects to this
                            Interrogatory on the grounds that it is vague and ambiguous as to what is meant by
                            “the reimbursement rates paid to Plaintiff for the Medical Services at issue.” To the
   [9000.002/ 5326041/ 3]




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                            extent the Interrogatory requests identification of documents relied on by UHS in
                            administering the benefit claims at issue, UHS complied with and followed the
                            terms of the plan documents and ASA with regard to the administration of the
                            benefit claims at issue, which included using published rates allowed by the Centers
                            for Medicare and Medicaid Services (CMS) for Medicare and accessing the Data
                            ISight re-pricing service with regard to the appropriate payment amount for certain
                            of the benefit claims at issue and/or accessing directly or indirectly third party
                            agreements through which Plaintiff agreed to accept a discounted amount.
                            With regard to subsection (b), UHS objects that this Interrogatory assumes and/or
                            mischaracterizes the facts applicable to this matter, specifically that that UHS made
                            a determination of the “usual and customary charges for medical services similar
                            to the Medical Services at issue in the community where the Medical Services were
                            provided, from January 1, 2017 through December 31, 2019.” In addition, it is
                            vague and ambiguous as to what is meant by “medical services similar to the
                            Medical Services at issue” and “the community where the Medical Services were
                            provided.” UHS further objects to this Interrogatory because it seeks a legal
                            conclusion. UHS also objects to this Interrogatory as seeking information that is
                            not discoverable under ERISA. UHS further objects that this Interrogatory lacks
                            relevance, as this Interrogatory seeks information exceeding the scope of the issues
                            framed by Plaintiff’s Complaint. UHS further objects to the extent this
                            Interrogatory seeks any confidential and/or proprietary information.
   Reason(s) Supporting Motion: Interrogatory 11(b)3 is a properly tailored discovery request that

   asks UHS to identify the databases and other materials upon which it relies in determining the

   usual and customary charges for services similar to those at issue—information that is relevant to

   Plaintiff’s damages. For example, if UHS regularly relies upon FAIR Health data in calculating

   usual and customary charges, but it did not do so for the specific services at issue in this case, that

   is relevant to whether it in fact paid Plaintiff the fair market or reasonable value of its services.

   Accordingly, UHS’s relevance objections should be overruled.

                            Once again, UHS improperly objects to terms that are defined, have plain meanings, or

   parallel statutory language concerning the usual and customary charges for medical services. See

   § 641.513, Fla. Stat. (requiring reimbursement at “[t]he usual and customary provider charges for




           3.      The parties have reached an agreement concerning UHS’s objections to subsection
   (a) of Interrogatory No. 11.
   [9000.002/ 5326041/ 3]




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   similar services in the community where the services were provided.”); Baker County Med.

   Services, Inc., 31 So. 3d at 845. UHS’s ERISA objections are again improper for the reasons set

   forth in section II.A above, and its confidentiality and proprietary objections are again adequately

   addressed by entry of an appropriate confidentiality order.

                            Contrary to UHS’s unsupported contention, this Interrogatory does not call for a legal

   conclusion, but rather asks UHS to identify the documents and other materials upon which it relied

   in determining the usual and customary charges for medical services similar to those at issue. The

   reference to Baker County in this Interrogatory merely defines the phrase “usual and customary

   charges”; it does not improperly call for a legal conclusion.

                            Finally, UHS’s objection that this Interrogatory makes improper assumptions or

   mischaracterizations is not a valid basis for its refusal to respond. If UHS truly does not make any

   determination of the usual and customary charges for medical services similar to those at issue—

   which is what its objection seems to indicate—then it should say so in its answer, not refuse to

   provide one. Accordingly, its objections should be overruled, and it should be compelled to provide

   an answer to Interrogatory No. 11(b) upon entry of an appropriate confidentiality order.

                            Interrogatory No. 12: Identify all agreements, contracts, and/or memoranda of
                            understanding between You and UHG in effect at any time from January 1, 2018
                            through December 31, 2019, that relate to the administration and/or payment of the
                            Medical Claims at issue.
                            Defendant’s Answer: UHS objects that this Interrogatory is vague and ambiguous
                            in that Plaintiff fails to sufficiently identify what is meant by “agreements,
                            contracts, and/or memoranda of understanding between You and UHG.” UHS also
                            objects to this Interrogatory as seeking information that is not discoverable under
                            ERISA. UHS further objects that this Interrogatory lacks relevance, as this
                            Interrogatory seeks information and documents exceeding the scope of the issues
                            framed by Plaintiff’s Complaint. UHS also objects to the extent this Interrogatory
                            seeks any confidential and/or proprietary information.
   Reason(s) Supporting Motion: This Interrogatory asks for contacts or other agreements between

   the Defendants that relate to administration of the claims at issue. It is therefore a properly tailored
   [9000.002/ 5326041/ 3]




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   discovery request seeking relevant information. UHS again asserts unfounded objections that this

   Interrogatory is vague and ambiguous, despite the objected-to phrase having a plain meaning based

   on its context. UHS’s ERISA objections are likewise unfounded for the reasons set forth in section

   II.A above. Finally, UHS’s confidentiality and proprietary objections are once again adequately

   addressed by entry of an appropriate confidentiality order. Accordingly, UHS’s objections to

   Interrogatory No. 12 should be overruled, and it should be compelled to provide an answer to

   Interrogatory No. 12 upon entry of an appropriate confidentiality order.

                                                            III.      CONCLUSION

                            For the foregoing reasons, the objections asserted by UHS should be overruled, and UHS

   should be compelled to provide better answers to the Interrogatories, as more fully set forth above,

   upon entry of an appropriate confidentiality order and HIPAA-QPO.

                                     IV.    CERTIFICATION PURSUANT TO S.D. FLA. L.R. 7.1(A)(3)

                            Counsel for Plaintiff hereby certifies that via a telephone call on September 20, 2021, she

   conferred with Allison Gallagher, Esq., counsel for Defendants, in a good faith effort to resolve

   the issues raised in this Motion, but the parties have been unable to resolve the issues.

                            WHEREFORE, Plaintiff respectfully requests entry of an Order overruling UHS’s

   objections to Interrogatories No. 3, 4, 6–8, and 10–12 and compelling UHS to provide better

   answers to the Interrogatories upon entry of an appropriate confidentiality order and HIPAA-QPO.



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   [9000.002/ 5326041/ 3]




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   Dated: September 22, 2021                                    Respectfully submitted,
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                                                CERTIFICATE OF SERVICE

                            I HEREBY CERTIFY that on September 22, 2021, a true and correct copy of the

   foregoing document is being electronically filed with the Clerk of Court using CM/ECF and is

   being served via transmission of Notices of Electronic Filing generated by CM/ECF on all counsel

   of record identified in the Service List below.

                                                                s/Genevieve Baisden
                                                                RICHARD P. HERMANN, II, ESQ
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   [9000.002/ 5326041/ 3]




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   [9000.002/ 5326041/ 3]




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